     Case 2:20-cv-00571-WKW-CSC Document 10 Filed 10/06/20 Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

 STEVE CLIFF, #142970,                     )
                                           )
              Plaintiff,                   )
                                           )
       v.                                  )      CASE NO. 2:20-CV-571-WKW
                                           )                [WO]
 KAY IVEY,                                 )
                                           )
              Defendant.                   )

                                       ORDER

      The Magistrate Judge filed a Recommendation to which no timely objections

have been filed. (Doc. # 7.) Upon an independent review of the record, it is

ORDERED as follows:

      (1)    The Recommendation (Doc. # 7) is ADOPTED;

      (2)    The motion for leave to proceed in forma pauperis (Doc. # 2) is

DENIED; and

      (3)    This action is DISMISSED without prejudice for Plaintiff’s failure to

pay the full filing and administrative fees upon initiation of this case.

      Final judgment will be entered separately.

      DONE this 6th day of October, 2020.

                                                     /s/ W. Keith Watkins
                                               UNITED STATES DISTRICT JUDGE
